                  Case 2:08-cr-00332-GEB Document 22 Filed 08/29/08 Page 1 of 3




        ï   Ü¿²·»´ Þò Ý´§³±
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        ì
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        è                   ÚÑÎ ÌØÛ ÛßÍÌÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ ÝßÔ×ÚÑÎÒ×ß
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       ïï             Ð´¿·²¬·ººô          ÷            ÍÌ×ÐËÔßÌ×ÑÒ ßÒÜ
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       ïì             Ü»º»²¼¿²¬-ò         ÷            Ì·³»æ    çæðð ¿ò³ò
                                          ÷            Ö«¼¹»æ   Ø±²ò Ù¿®´¿²¼ Ûò
       ïë                                                       Þ«®®»´´
       ïê

       ïé         ×Ì ×Í ØÛÎÛÞÇ -¬·°«´¿¬»¼ ¾»¬©»»² ¬¸» Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿
       ïè   ¬¸®±«¹¸ ·¬- «²¼»®-·¹²»¼ ½±«²-»´ô Ó·½¸¿»´ Óò Þ»½µ©·¬¸ô Û-¯òô
       ïç   ß--·-¬¿²¬ Ë²·¬»¼ Í¬¿¬»- ß¬¬±®²»§ô ¬±¹»¬¸»® ©·¬¸ ½±«²-»´ º±®
       îð   ¼»º»²¼¿²¬ ß´º±²-± Ý±®®¿´»-ô Ü¿²·»´ Þò Ý´§³±ô Û-¯òô ¼»º»²¼¿²¬ Û®·½
       îï   Ó·½¸¿»´ Í±«¬¸¿®¼ô Ó¿¬¬¸»© Ýò Þ±½µ³±²ô Û-¯òô ¿²¼ ¼»º»²¼¿²¬
       îî   Ø·´´¿®·± Ý¿®®¿²¦¿ô Ö±¸² Øò Ú»²·»® ¬¸¿¬ ¬¸» -¬¿¬«- ½±²º»®»²½»
       îí   °®»-»²¬´§ -»¬ º±® ß«¹«-¬ îçô îððè ¾» ½±²¬·²«»¼ ¬± Ñ½¬±¾»® ïéô
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       îê   ¿°°®±°®·¿¬» »¨½´«-·±² ±º ¬·³» ©·¬¸·² ¬¸» ³»¿²·²¹ ±º Ì·¬´» ïèô
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       îè   ®»¿-±²¿¾´» ¬·³» º±® »ºº»½¬·ª» °®»°¿®¿¬·±²÷ ¿²¼ Ô±½¿´ Ý±¼» Ììô ¿²¼
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                  Case 2:08-cr-00332-GEB Document 22 Filed 08/29/08 Page 2 of 3




        ï   ¿¹®»» ¬± »¨½´«¼» ¬·³» º®±³ ¬¸» ¼¿¬» ±º ¬¸» º·´·²¹ ±º ¬¸» ±®¼»®
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        ë   Ü¿¬»¼æ ß«¹«-¬ îèô îððè                       ñ-ñ Ü¿²·»´ Þò Ý´§³±
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                  Case 2:08-cr-00332-GEB Document 22 Filed 08/29/08 Page 3 of 3




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